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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-169V
                                      Filed: June 12, 2019
                                         UNPUBLISHED


    WENDY BORDERS,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Damages Decision Based on Proffer;
    SECRETARY OF HEALTH AND                                  Influenza (Flu) Vaccine; Shoulder
    HUMAN SERVICES,                                          Injury Related to Vaccine
                                                             Administration (SIRVA)
                       Respondent.


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for petitioner.
Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On February 6, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered “left shoulder injuries” that were
“caused in fact” by an influenza (“flu”) vaccine petitioner received on October 15, 2015.”
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

      On May 31, 2019, a ruling on entitlement was issued, finding petitioner entitled to
compensation for shoulder injury. On June 6, 2019, respondent filed a proffer on award
of compensation (“Proffer”) indicating petitioner should be awarded $70,197.39. Proffer

1
  The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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at 2. In the Proffer, respondent represented that petitioner agrees with the proffered
award. Id. Based on the record as a whole, the undersigned finds that petitioner is
entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $70,197.39, representing compensation for pain
and suffering ($65,000.00) and past unreimbursable expenses ($5,197.39), in the
form of a check payable to petitioner, Wendy Borders. This amount represents
compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 WENDY BORDERS,

                 Petitioner,                           No. 17-169V
 v.                                                    Chief Special Master Dorsey
                                                       ECF
 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                 Respondent.


                               PROFFER ON AWARD OF DAMAGES

       On February 6, 2017, Wendy Borders (“petitioner”) filed a petition for compensation

(“Petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -

34 (“Vaccine Act” or “Act”), as amended. The petition alleged that an influenza vaccination that

petitioner received on October 21, 2015, caused-in-fact left shoulder injuries. After the Chief

Special Master made binding factual findings in this case, respondent filed his Rule 4(c) Report,

recommending that the Chief Special Master decide the issue of entitlement based on the record.

On May 31, 2019, the Chief Special Master found petitioner entitled to compensation.

I.    Items of Compensation

       A.       Pain and Suffering

       Respondent proffers that petitioner should be awarded $65,000.00 in actual and projected

pain and suffering. This amount reflects that any award for projected pain and suffering has

been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents her expenditure of past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $5,197.39. Petitioner agrees.

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II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $70,197.39, representing compensation for pain and suffering

($65,000.00) and past unreimbursable expenses ($5,197.39), in the form of a check payable to

petitioner. 1 This lump sum payment represents all elements of compensation to which petitioner

would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                              Respectfully submitted,

                                              JOSEPH H. HUNT
                                              Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              CATHARINE E. REEVES
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Assistant Director
                                              Torts Branch, Civil Division

                                               s/Jennifer L. Reynaud
                                              JENNIFER L. REYNAUD
                                              Trial Attorney
                                              Torts Branch, Civil Division
                                              U.S. Department of Justice
                                              P.O. Box 146
                                              Benjamin Franklin Station
                                              Washington, D.C. 20044-0146
                                              Tel: (202) 305-1586
Date: June 6, 2019




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future pain and suffering, and future lost wages.

                                                 2
